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FOR THE SOUTHERN DlSTRlCT OF GEORGIA

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ln the matter of : ~ ) Chapter 13 Case
\'\QX'Y\\\ ‘\'DC\. ) Number \LQ- lD |LQQ
Debtor(s) )

TRUSTEE’S MOTION TO CONFIRM PLAN, AS`AMENDED

Trustee moves that Debtor(s)’ plan as amended herein be confinned. The plan, as amended, commits
Debtor(s)’ disposable income to the plan for a period of at least thirty-six (36) months and otherwise
conforms to the requirements of Title ll. The plan, as amended, in order to meet the liquidation test of

 

 

 

 

 

 

 

 

Sl325(a)(4) will pay $ or more to unsecured creditors.

Debtor(s)’ plan is amended to M

){ raise payments/extend plan as follows: § 3 SL'S//V%

() change valuation(s) as follows:

() allow/modify/disallow claims as follows:

() allow the following creditors a period of days following confirmation to liquidate the

collateral surrendered under the Debtor(s)’ plan and to file any deficiency general unsecured
claim subject to any party in interest’s right to object to any subsequent claim:

 

() retain the right to file objections by the Debtor(s) to the following claims within thirty (30) days
of confirmation:

 

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Trustee certifies that none of the foregoing amendments require noti e to partie ' an those
whose consent has been given. `

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Creditor’s Counse|

  

 

 

Codebt )r/ Creditor’s Counsel

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Debtor 7 Counse| ' Creditor’s Counse|

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